
USCA1 Opinion

	













                            United States Court of Appeals
                                For the First Circuit
                                 ____________________
        No. 96-1324

                                    UNITED STATES,
                                      Appellee,

                                          v.

                                MANUEL AMADO GUERRERO,
                                Defendant, Appellant,
                                _____________________

        No. 96-1325

                                    UNITED STATES,
                                      Appellee,

                                          v.

                                 CRISPINIANO OSPINA,
                                Defendant, Appellant,
                                _____________________

        No. 96-1326

                                    UNITED STATES,
                                      Appellee,

                                          v.

                                    ORLANDO PILCO,
                                Defendant, Appellant,
                                _____________________

        No. 96-1327

                                    UNITED STATES,
                                      Appellee,

                                          v.

                                    MANUEL RIVAS,
                                Defendant, Appellant,
                                _____________________
        No. 96-1651

                                    UNITED STATES,



















                                      Appellee,

                                          v.

                                   DIMAS HERNANDEZ,
                                Defendant, Appellant.
                                 ____________________

                    APPEALS FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                   [Hon. Salvador E. Casellas, U.S. District Judge]
                                               ___________________

                                 ____________________

                                        Before

                                 Selya, Circuit Judge,
                                        _____________
                            Coffin, Senior Circuit Judge,
                                    ____________________
                              and Stahl, Circuit Judge.
                                         _____________

                                 ____________________

            Luis  E. Pabon Roca,  by Appointment  of the  Court, for appellant
            ___________________
        Amado Guerrero.
            Peter J. Satz-Hanley,  by Appointment of the Court, for  appellant
            ____________________
        Crispiniano Ospina.
            David A.F.  Lewis,  by  Appointment of  the Court,  for  appellant
            _________________
        Orlando Pilco.
            Miguel A.A.  Nogueras-Castro, Assistant  Federal Public  Defender,
            ____________________________
        with whom  Gustavo A.  Gelpi, Assistant  Federal Public  Defender, and
                   _________________
        Benicio  Sanchez Rivera, Federal  Public Defender,  were on  brief for
        _______________________
        appellant Manuel Rivas.
            Irma  R. Valldejuli, by  Appointment of  the Court,  for appellant
            ___________________
        Hernandez.
            Jacabed  Rodriguez  Coss, Assistant  United States  Attorney, with
            ________________________
        whom  Jose A. Quiles, Assistant United  States Attorney, and Guillermo
              ______________                                         _________
        Gil, United States Attorney, were on brief for appellee.
        ___




                                 ____________________

                                     May 30, 1997
                                 ____________________



















                      STAHL,   Circuit   Judge.      A   jury   convicted
                      STAHL,   Circuit   Judge.
                               _______________

            defendants-appellants  Manuel   Amado  Guerrero,  Crispiniano

            Ospina, Orlando Pilco, Manuel Rivas, and Dimas Hernandez each

            of  one  count  of aiding  and  abetting  each  other in  the

            possession with  intent to  distribute marijuana on  board an

            ocean  vessel  subject  to  the jurisdiction  of  the  United

            States,  in  violation of  46  U.S.C. app.    1903(a)  and 18

            U.S.C.   2.  On appeal,  the defendants raise various  issues

            with respect to their convictions and sentences.  Many of the

            issues they ask us to review were not properly brought to the

            district  court's  attention.    Finding no  merit  to  their

            contentions, we  affirm the district court's  judgment in all

            respects.

                                          I.
                                          I.
                                          __

                             Facts and Prior Proceedings
                             Facts and Prior Proceedings
                             ___________________________

                      At  trial, the government established the following

            facts.1  On the  evening of June 13, 1995, the  United States

            Coast  Guard  Cutter MELLON  was  conducting routine  counter

            drug-trafficking patrol on the  high seas off Colombia, South

            America.    At that  time,  the  weather conditions  included

            twenty-knot winds and eight-foot  swells.  Lt. Comdr. Vincent

            Morgan   Weber  commanded  the  heavily  armed  378-foot-long

            vessel,  which  was  equipped   with  two  smaller  boats:  a

                                
            ____________________

            1.  We recount the trial evidence in the light most favorable
            to  the prosecution.   See  United States  v. Ruiz,  105 F.3d
                                   ___  _____________     ____
            1492, 1495 (1st Cir. 1997).

                                         -3-
                                          3















            motorized surfboat, the MELLON I, and a rigid hull inflatable

            boat, the MELLON II.

                      At approximately  9:00 p.m., forty  miles north  of

            the  Colombia's  Guajira Peninsula,  the  cutter MELLON  made

            radar contact  with an unidentified  vessel.2  As  the MELLON

            approached the craft, it directed its search lights  upon it.

            Given the difficult  seas and the  distance from the  nearest

            shore,  Lt. Comdr. Weber  expected to  observe a  cargo boat.

            Instead,   he   discerned   a   forty-foot   long,   flagless

            recreational craft, travelling in a northeast direction.

                      The boat rode low in the water, not more than eight

            feet above the surface.  Its cabin was constructed much lower

            than  normal for  that  type  of  recreational vessel.    The

            vessel's  "low profile"  enabled it  to ride  in the  ocean s

            swells and avoid most radar detection.  The fiberglass boat's

            hull was light  blue below the waterline and white above.  It

            sported  two antennae, a common VHF radio antenna and a high-

            frequency  antenna  for long  distance  communications.   The

            vessel was operating  without its running  lights on, and  no

            one was topside.

                      After  several unsuccessful  attempts  to hail  the

            vessel,  Lt.  Comdr. Weber  established  radio communications


                                
            ____________________

            2.  The  evidence also suggested  radar contact  with another
            vessel,  some two  miles away  from the  first boat,  but the
            Coast Guard  chose not  to pursue any  interaction with  that
            vessel.

                                         -4-
                                          4















            through  one  of the  cutter's  interpreters.   The  vessel's

            master,  Pilco,  informed  the  Coast Guard  that  the  boat,

            identified  as  the BLACK  CAT,3  was  of Honduran  registry.

            Pilco stated that his last port of call was "Panama" and that

            his  next port  of call  was "Honduras."   Weber  found these

            statements suspicious  because the BLACK CAT  was headed away

            from the stated destination  and because specific cities, not

            countries,  usually are identified  as ports of  call.  Pilco

            did not respond to Weber's subsequent request to identify the

            specific cities in which the ports of call were located.

                      When  asked if  the  BLACK CAT  carried any  cargo,

            Pilco  answered,  "no."    Lt. Comdr.  Weber  had  just  been

            advised, however, that personnel  aboard the MELLON saw cargo

            inside  the boat's cabin.   The vessel s low  position in the

            water further  belied Pilco's claim.   To clarify  the point,

            Weber  again asked Pilco whether or not the BLACK CAT carried

            cargo.   Pilco again responded  in the negative.   Weber then

            requested permission  to board, to which Pilco replied, in an

            agitated  voice,  "wait  a  minute,  wait a  minute,  wait  a

            minute."  Weber repeated the request a few minutes later, but

            received the same response.

                      About the same time, Coast Guard personnel observed

            someone  on the BLACK CAT throwing objects overboard.  A boat

                                
            ____________________

            3.  Pilco stated the vessel's  name in Spanish, "GATO NEGRO."
            Following the  parties' lead, we use  the English translation
            throughout.

                                         -5-
                                          5















            team dispatched on  the MELLON  II retrieved  from the  ocean

            pieces of  a navigational  chart depicting the  United States

            Virgin  Islands area east of  Puerto Rico.   Lt. Comdr. Weber

            then dispatched a boarding  team in the MELLON I  to approach

            the BLACK CAT. 

                      When  the  MELLON  I  came  alongside  the  vessel,

            members of  the boarding team noticed  two oversized, custom-

            made fuel  tanks covering most of  the aft deck.   In fact, a

            person could not enter  the cabin area without crawling  over

            the fuel tanks.  Peering into the cabin area with  the aid of

            a spotlight, the boarding  team observed several crew members

            and numerous white-colored bales.

                      The boarding team failed in its initial attempts to

            get  the attention of the  crew, which, for  a time, remained

            inside the cabin.   Soon, however, the crew members  began to

            emerge,  one by one, carrying duffel bags.  One member placed

            his  hand  underneath  his  shirt, and  others  seemed  to be

            reaching  inside  their  bags.   These  actions  alarmed  the

            boarding team, which quickly advised the crew (in Spanish and

            English) to keep their  hands in plain sight.   Concerned for

            the boarding team's safety, Gunner's Mate Edward West pointed

            an  M16 service rifle toward the vessel.  Perhaps because the

            choppy seas  made  communication difficult,  the BLACK  CAT's

            crew did not comply with  the request to keep their  hands in

            view.   When a crew member  again began to reach  towards his



                                         -6-
                                          6















            duffel  bag, the boarding team pulled away from the BLACK CAT

            inorder toreassess thesituation anddiffuse therising tension.

                      When all  five crew members  of the BLACK  CAT were

            topside, the MELLON  I again pulled  up to the  vessel.   The

            boarding  team  had no  weapons drawn  at  the time,  and the

            situation  was  much calmer.    Ensign  Joseph Sundland,  the

            boarding  officer, told Pilco that  the Coast Guard wanted to

            perform  a safety inspection  on the boat.   Pilco consented.

            The   boarding  process,  however,   proved  to  be  somewhat

            difficult.  There was very little space available on the boat

            for boarding, and the rough sea conditions had caused fuel to

            spill on the stern, making for unsure footing.  Moreover, the

            construction  of  the vessel's  cabin  left no  room  to walk

            around it on deck.  These circumstances made it dangerous for

            the BLACK CAT's  crew members,  who had no  life jackets,  to

            stand  topside during  the boarding.   To  facilitate  a safe

            boarding, the boarding team  had the crew lie down on  top of

            the cabin.

                      Once on  board, members of the  boarding team asked

            Pilco  again if  he had  any objection  to the  Coast Guard's

            presence  on board the vessel.  Pilco repeated that he had no

            objection.   Sundland asked Pilco for permission  to go below

            into the cabin to check for safety hazards.  Pilco consented,

            and led Ensign Sundland and Firearm Rafael Rivera (who served

            as  interpreter)  over the  fuel  tanks and  into  the cabin.



                                         -7-
                                          7















            Numerous bales  covered with white plastic  filled almost all

            of the interior space, with the exception of a small sleeping

            area between the  bales and  the ceiling and  a narrow  crawl

            space forward.  One of the bales had been placed by the helm,

            apparently  to serve as a  seat for the  crew member steering

            the vessel.  The cabin also held many food containers, mostly

            unopened,  and a cooler almost  full of fresh  ice and sodas.

            Sundland noticed high-quality,  expensive radio  gear on  the

            cabin's wall.

                      The  bales emitted  no  perceptible  odor,  rather,

            intense fumes from fuel leaking out of the poorly constructed

            tanks  almost  overwhelmed the  men  in  the cabin.    Ensign

            Sundland sought  and received Pilco's permission  to open one

            of the bales.   He cut through heavy plastic  and a cardboard

            box,  and  discovered   nine  individually  wrapped  packages

            inside.   As he  opened one  of the smaller,  plastic-wrapped

            packages,  he  asked  Pilco  if  he  knew  what  the  package

            contained.  Pilco answered  that he thought it was  marijuana

            and that someone had hired him to take it from Colombia to an

            undisclosed  location.    Field  testing  verified  that  the

            packages in fact contained marijuana.

                      Following  a radio inquiry to Honduran authorities,

            at approximately 9:00 p.m. on June 14 (some twenty-four hours

            after the Coast Guard initially contacted the BLACK CAT), the

            Honduran  government confirmed the vessel's Honduran registry



                                         -8-
                                          8















            and authorized the Coast  Guard to enforce United  States law

            against the vessel and her crew.4  The Coast Guard placed the

            defendants  under arrest  and seized  the contraband.   After

            securing the  vessel's crew and cargo aboard  the MELLON, the

            Coast  Guard attempted to tow  the BLACK CAT  in the MELLON's

            wake, but the  BLACK CAT  took on  water and  began to  sink.

            Because the boat's presence  just beneath the ocean's surface

            would have created a navigation hazard, Coast Guard personnel

            sank the vessel completely with machine gun fire.

                      In  total,  the Coast  Guard  seized  100 bales  of

            marijuana,  weighing a total  of 5,596 pounds  and worth $6-8

            million wholesale, $25-41 million retail.  Although the Coast

            Guard found  no weapons on board  the BLACK CAT,  it seized a

            Magellan global  positioning  system ("GPS"),  an  electronic

            navigation  device  that determines  a vessel's  latitude and

            longitude position.   When asked, Pilco could not present any

            cargo manifests or other commercial papers.

                      According to the government's witnesses, commercial

            cargo  normally is not transported in the manner in which the

            unlabeled bales were  bundled and arranged on the  BLACK CAT.

            On  the contrary,  the  bales had  been  packed in  a  manner

            typical  for  contraband.     In  particular,  the   evidence


                                
            ____________________

            4.  At trial, the government introduced a  certification from
            the  United States  Secretary  of State  and his  designee to
            prove the Honduran government's confirmation of registry  and
            authorization to enforce U.S. law.

                                         -9-
                                          9















            suggested  that  the  waterproof  packaging was  intended  to

            protect  the contraband during  vessel-to-vessel transfers on

            the  high seas.   Transfers  of this  type often  require the

            assistance   of  long   distance  radios   and  sophisticated

            navigational equipment, such as the Magellan GPS, to pinpoint

            the time and place of the rendezvous.

                      Following   the   government's   case   in   chief,

            defendants  Pilco and  Rivas testified  on their  own behalf.

            Pilco  asserted that he had  been hired to  transport what he

            thought was a coffee cargo -- at $5 per bale -- to Aruba, and

            that  he set sail roughly  around midnight on  June 12, 1995.

            He testified that during the  initial contact with the cutter

            MELLON, he  did inform the Coast Guard that the BLACK CAT was

            carrying cargo.   He also claimed that he had  told the Coast

            Guard that his last port of call was "Puerto Panama," located

            on Colombia's Guajira Peninsula, and that his destination was

            "Aruba," not  "Honduras."  He denied  telling Ensign Sundland

            that  he thought  the bales  contained marijuana,  and stated

            that he had no  cargo manifests or commercial  papers because

            the  person who hired him, rather than a maritime agency, was

            to receive the shipment.

                      Rivas testified that  he was an experienced  seaman

            who  usually worked  on merchant  ships.   For the  BLACK CAT

            voyage, he had been hired for  $200 as a helmsman.  He stated

            that he met  the rest of  the crew for  the first time  after



                                         -10-
                                          10















            being  driven  to Puerto  Panama  on  the Guajira  Peninsula.

            Rivas  could not state  with any specificity  the location of

            Puerto  Panama.   He  asserted that  the  bales were  already

            inside the cabin when he arrived at the boat dock and that he

            noticed nothing unusual about them.   Rivas also claimed that

            he did not hear the word "marijuana"  until it was uttered by

            one of the Coast Guard officers.

                      At  the close  of  all the  evidence, the  district

            court   denied  the   defendants'   motions  for   acquittal.

            Subsequently, the jury found  each defendant guilty, under 46

            U.S.C. app.   1903(a),  of aiding and abetting each  other in

            the possession --  with intent to distribute  -- of marijuana

            on  board a  vessel.   On  appeal,  Pilco contends  that  the

            involuntariness of his statements to the Coast Guard rendered

            the  statements  inadmissible  against  him at  trial.    All

            defendants argue  that a certification from  the Secretary of

            State   was  inadmissible   to   prove  the   United  States'

            jurisdiction over the vessel.   With the exception of  Pilco,

            the defendants also claim that the government failed to prove

            their knowing participation in  the drug trafficking offense.

            Ospina, Rivas, and Hernandez claim  error in the court s jury

            instructions,  and  Hernandez further  argues that  the Coast

            Guard's eventual  destruction of the vessel  violated his due

            process rights.  Last, Rivas and Ospina challenge the court s

            sentencing determinations.



                                         -11-
                                          11















                                         II.
                                         II.
                                         ___

                       Admission of Pilco's Statements at Trial
                       Admission of Pilco's Statements at Trial
                       ________________________________________

                      Pilco contends that he did not voluntarily make the

            incriminatory  statements  to  the  Coast  Guard  after  they

            boarded  the  BLACK CAT  and that  the  use of  those alleged

            statements  at  trial  violated  his right  to  due  process.

            Specifically,  Pilco  relies on  the  following  facts.   The

            cutter  was over 370-feet  long and  heavily armed  while the

            BLACK CAT was only 40-feet long and unarmed.  At one point, a

            member  of the Coast Guard boarding team pointed an M16 rifle

            at  the BLACK CAT crew.  Finally, upon boarding, the boarding

            team had the  crew lie down on top of the boat because of the

            dangerous seas.

                      Following  a voluntariness  hearing pursuant  to 18

            U.S.C.    3501(a),5 during  which Ensign  Sundland testified,

            the district court found  that Pilco voluntarily consented to

            both the boarding and the  subsequent cabin inspection.   The

            court ruled that the boarding, coupled with Ensign Sundland's

            non-threatening  inquiries, amounted  neither to  custody nor

            coercion.   The court further  observed that, at  the time of

            the statement,  Pilco could have requested  the boarding team

            to leave, and the team would  have complied.  Thus, the court


                                
            ____________________

            5.  18  U.S.C.    3501 requires  a trial  judge to  conduct a
            hearing  out   of  the  jury's  presence   to  determine  the
            voluntariness  and admissibility  of  a confession  or  self-
            incriminating statement made during detention or arrest.

                                         -12-
                                          12















            concluded, the statement was  voluntary within the meaning of

              3501.6

                      The ultimate voluntariness determination involves a

            question  of law subject to plenary review.  United States v.
                                                         _____________

            Cleveland,  106  F.3d  1056,  1064   (1st  Cir.  1997).    We
            _________

            "scrutinize[] a district  court's factual findings, including

            its credibility  determinations, for traces of  clear error."

            United States v. Valle, 72 F.3d 210, 213-14 (1st Cir. 1995).
            _____________    _____

                      Upon careful examination of the evidence introduced

            at  the   3501 hearing, we find no clear error in the court's

            subsidiary  factual findings  regarding the  voluntariness of

            Pilco's   statement.     Ensign  Sundland's   testimony,  the

            credibility of which was  a matter for the court,  see Valle,
                                                               ___ _____

            72 F.3d at 214, plausibly  established that the boarding team

            members  had no  weapons drawn  at the  time of  the boarding

            request,  that Pilco  freely  consented to  the boarding  and

            search, and that his demeanor was "very calm" when he granted

            Ensign Sundland permission to inspect the cabin and to open a

            bale.  Examining the totality of the circumstances, we cannot

            say  that Pilco's will  was "overborne so  that the statement

            was  not his  free  and voluntary  act."   United  States  v.
                                                       ______________

            Jackson,  918  F.2d  236,   241  (1st  Cir.  1990)  (internal
            _______


                                
            ____________________

            6.  We note  that Pilco only challenges  the voluntariness of
            his statements under 18 U.S.C.   3501.  His argument does not
            touch upon the absence  of Miranda warnings or the  manner in
                                       _______
            which any potential Miranda issue affects his   3501 claim.
                                _______

                                         -13-
                                          13















            quotation marks  and citation  omitted).  See  Schneckloth v.
                                                      ___  ___________

            Bustamonte, 412 U.S. 218, 225-27 (1973) (discussing totality-
            __________

            of-circumstances approach when determining voluntariness of a

            confession);  see also United States v. Kimball, 25 F.3d 1, 8
                          ___ ____ _____________    _______

            (1st Cir.  1994) (finding  consent voluntary where  defendant

            expressly  agreed  to  accompany  police  to  station,  never

            indicated  an  unwillingness to  do  so, and  police  did not

            coerce or intimidate defendant into going with them).

                      Therefore,  we agree with  the district  court that

            Pilco's  statement was  voluntary,  and thus,  admissible  at

            trial.7

                                         III.
                                         III.
                                         ____

                             Sufficiency of the Evidence
                             Sufficiency of the Evidence
                             ___________________________

                      The  government charged the  defendants with aiding

            and  abetting each other in  the violation of  46 U.S.C. app.

              1903(a).  To prove  the defendants' violation of   1903(a),

            the government  needed to  prove, beyond a  reasonable doubt,

                                
            ____________________

            7.  18  U.S.C.   3501  does  not require  the suppression  of
            involuntary statements unless the person was "under arrest or
            other  detention"  at the  time he  made  the statement.   18
            U.S.C.    3501(d).   Because we  find that  Pilco voluntarily
            made  the incriminating  statement, we  need not  address the
            question  whether he  was in  custody within  the  meaning of
              3501(d).  We  note, however, that the  consensual nature of
            the  boarding   renders  the  existence  of   this  threshold
            requirement highly  unlikely.   Cf. United States  v. Elkins,
                                            ___ _____________     ______
            774 F.2d 530,  535 n.3  (1st Cir. 1985)  (defendants not  "in
            custody" during routine boarding  and inspection of  American
            flagship even though crew was "confined to one section of the
            boat  during the  lengthy  Coast  Guard inspection");  United
                                                                   ______
            States  v. Lopez,  709  F.2d 742,  745  n.3 (1st  Cir.  1983)
            ______     _____
            (suggesting similar conclusion).

                                         -14-
                                          14















            that: (1) the BLACK  CAT was "subject to the  jurisdiction of

            the  United States"; (2) the material found on the vessel was

            a controlled  substance; and (3) the  defendants knowingly or

            intentionally  possessed  the controlled  substance  with the

            intent  to distribute  it.   46 U.S.C.  app.   1903(a).   See
                                                                      ___

            United States v. Piedrahita-Santiago,  931 F.2d 127, 130 (1st
            _____________    ___________________

            Cir. 1991).

                      The defendants  moved  for judgment  of  acquittal,

            pursuant to Fed. R. Crim. P. 29, after  the conclusion of the

            government's case in chief  and again after the close  of all

            the evidence.  The district court denied both motions.  While

            the defendants do not  dispute the evidentiary sufficiency of

            the  government's proof  of  the second  element, they  raise

            challenges regarding the first and third elements.

            A.  Standard of Review
            ______________________

                      We  review  the  Rule  29  determination  de  novo,
                                                                __  ____

            resolving any evidentiary conflicts or credibility issues  in

            the  government's favor.  See United States v. Ruiz, 105 F.3d
                                      ___ _____________    ____

            1492,  1495 (1st Cir. 1997).   If the  evidence, viewed under

            this  lens, "permits a  rational jury to  find each essential

            element of the crime charged  beyond a reasonable doubt, then

            the  evidence  is  legally  sufficient."   United  States  v.
                                                       ______________

            Olbres, 61 F.3d 967, 970 (1st Cir.), cert. denied, 116 S. Ct.
            ______                               _____ ______

            522 (1995).  In this analysis, "[w]e defer, within reason, to

            inferences  formulated  by the  jury  in  the  light  of  its



                                         -15-
                                          15















            collective   understanding   of   human   behavior   in   the

            circumstances revealed  by the  evidence."  United  States v.
                                                        ______________

            Passos-Paternina, 918 F.2d 979, 985 (1st Cir. 1990).
            ________________

                      Because Pilco and Rivas presented a defense (by way

            of their  own testimony),  they have  waived review  of their

            initial Rule 29 motions, made after the government's  case in

            chief.  See Ruiz, 105  F.3d at 1495 n.1.  For that reason, in
                    ___ ____

            reviewing  their Rule 29  appeal, "we consider,  in the light

            most favorable  to the verdict, the evidence presented in the

            defense  case."   Id.  (citing 2  Charles A.  Wright, Federal
                              ___                                 _______

            Practice and Procedure   463, at 643-45 (1982)).8
            ______________________

            B.  United States Jurisdiction Over the Vessel
            ______________________________________________

                      The first element of  a   1903 offense requires the

            government  to prove that the BLACK CAT was "a vessel subject

            to  the jurisdiction  of  the United  States."   See  Passos-
                                                             ___  _______

            Paternina, 918 F.2d at  981; Piedrahita-Santiago, 931 F.2d at
            _________                    ___________________

            129  (stating that  the  jury determines  the  jurisdictional

            question  under   1903).   Vessels  subject to  United States

            jurisdiction include "a vessel registered in a foreign nation


                                
            ____________________

            8.  It  is   unclear  whether   or  not   the  non-testifying
            defendants, Guerrero, Ospina, and Hernandez, intended Pilco's
            and  Rivas' testimony  to constitute  defense-evidence as  to
            them.  While the non-testifying defendants' attorneys did not
            participate in the examination of Pilco and Rivas (except for
            a couple  of objections),  they also  did not  expressly rest
            their case until after Pilco's and Rivas' testimony.  Because
            the evidence the government presented in its case in chief is
            sufficient to convict the non-testifying defendants, we  need
            not resolve the issue.

                                         -16-
                                          16















            where the flag  nation has consented  or waived objection  to

            the enforcement of  United States law by the  United States."

              1903(c)(1)(C).  Section 1903 specifically provides that the

            foreign   nation's  consent   "may  be  obtained   by  radio,

            telephone, or  similar oral or  electronic means, and  may be

            proved  by certification  of  the Secretary  of State  or the

            Secretary's designee."    1903(c)(1).9

                      To prove that the government of Honduras authorized

            the enforcement  of United States  law against the  BLACK CAT

            and her crew, the government introduced various Department of

            State documents in which Joseph A. Conroy, Jr., the Secretary

            of State's designee for    1903 certifications, certified  to

            the  events leading  to the  Honduran government's  waiver of

            objection.  In pertinent  part, Conroy certified that Captain

            B.J.  Niesen,  Coast  Guard  Liaison  Officer  to  the  State

            Department's   Bureau  of  International  Narcotics  and  Law

            Enforcement,  contacted  Major John  C.  Sumner  of the  U.S.

            Embassy in  Honduras to  request the  Embassy  to inform  the

            Honduran government of the contraband on board the BLACK CAT,


                                
            ____________________

            9.  We analyze  this case  under the  pre-1996 version of  46
            U.S.C.  app.   1903,  pursuant to  which the  defendants were
            tried and convicted.  We acknowledge that the 1996 amendments
            to   1903 provide that the Secretary of State's certification
            "conclusively" proves a  foreign nation's  consent, and  that
            United  States  jurisdiction over  vessels  is  no longer  an
            element of an offense, but rather,  a preliminary question of
            law for the trial judge.  See 46 U.S.C. app.    1903(c) &amp; (f)
                                      ___
            (Supp.  1997).    We express  no  opinion  as  to the  scope,
            validity or interpretation of these amendments.

                                         -17-
                                          17















            to receive  confirmation of  the claim of  Honduran registry,

            and  to  seek authorization  for  the  enforcement of  United

            States law.  Conroy  certified that Major Sumner subsequently

            contacted Captain Niesen and  reported the following: (1) Lt.

            Claudia Castilla, Assistant Director of the Honduran Maritime

            Directorate, had -- "on behalf of the Government of Honduras"

            --  authorized the boarding and  searching of the vessel; (2)

            Javier Ponce  of the  Honduran Merchant Marine  confirmed the

            BLACK CAT's Honduran registry;  and (3) Ivan Flores, Head  of

            the  Honduran  Maritime Security,  had --  "on behalf  of the

            Government of  Honduras"  --  authorized  the  United  States

            government to  enforce United States law  against the vessel,

            crew and contraband.

                      At   trial,  the  defendants   argued  against  the

            admissibility  of  these  documents  on hearsay  grounds  and

            complained that  the government failed to  produce a document

            from   the  Honduran  government   confirming  that  nation's

            consent.   The district court disagreed  with the defendants'

            position and  admitted the  documents as sufficient  proof of

            the  jurisdictional element.    On  appeal, Guerrero,  Rivas,

            Hernandez   and   Ospina   perfunctorily  challenge   circuit

            precedent    dispensing    with    the   hearsay    argument.

            Additionally,  Pilco raises  a  new argument,  viz, that  the
                                                           ___

            government  failed to  establish  that Lt.  Claudia Castilla,

            Javier Ponce,  and  Ivan  Flores had  the  authority  of  the



                                         -18-
                                          18















            Honduran government  to confirm  registry and consent  to law

            enforcement action.

                      We  have  previously  found  the  hearsay  argument

            unavailing both because    1903's language reveals  Congress'

            explicit contemplation of the use  of "what might normally be

            considered 'hearsay'" to prove jurisdiction, United States v.
                                                         _____________

            Romero,  32 F.3d 641, 649 (1st Cir. 1994), and because "[t]he
            ______

            State Department Certification falls squarely  within Fed. R.

            Evid.  803(8)(A)," id. at 650.   See Fed.  R. Evid. 803(8)(A)
                               ___           ___

            (excepting from the hearsay rule public agency statements "in

            any  form" setting  forth "the  activities  of the  office or

            agency"); see also United States v. Mena, 863 F.2d 1522, 1531
                      ___ ____ _____________    ____

            (11th   Cir.  1989)  (explaining  that  foreign  government's

            expression of consent  "is not  hearsay at all  but rather  a

            verbal act,  similar to the  utterances involved in  making a

            contract,   to   which    the   law   attaches    independent

            significance").  We see no reason to alter Romero's reasoning
                                                       ______

            in this respect.

                      We  also  find  unavailing  the  defendants'  trial

            contention that  the government  was required to  procure and

            introduce  a  written  statement  of no  objection  from  the

            Honduran  government.    While  the government  may  prove  a

            foreign government's consent through a number  of alternative

            means,  see  Mena, 863  F.2d  at  1531, section 1903  plainly
                    ___  ____

            indicates   the  sufficiency  of  the  Secretary  of  State's



                                         -19-
                                          19















            certification  to  prove  that  fact.   See  46  U.S.C.  app.
                                                    ___

              1903(c)(1) (stating that the foreign nation's  consent "may

            be proved by certification  of the Secretary of State  or the

            Secretary's  designee"); Romero,  32 F.3d at  649 (explaining
                                     ______

            that   1903  "was designed  to ease evidentiary  requirements

            for  the  government  by   avoiding  the  time-consuming  and

            burdensome task of obtaining  official documentation from the

            claimed country of registry").

                      We  are equally unpersuaded  by Pilco's  attempt to

            transform  his trial  argument  into his  present contention:

            that  the   certification   was  inadmissible   because   the

            government  did  not show  the  authoritative  status of  the

            persons  in  Honduras  who  authorized  United  States'  law-

            enforcement  action.   Because  Pilco  failed  to raise  this

            argument below, we review for "plain error" and  reverse only

            if  an  "obvious"  or   "clear"  error  exists  that  affects

            "substantial rights."  United States v. Olano,  507 U.S. 725,
                                   _____________    _____

            734 (1993).  See Fed. R. Crim. P. 52(b).
                         ___

                      In Romero, the Colombian government refuted a claim
                         ______

            of Colombian registry, thus  rendering the vessel "stateless"

            and therefore subject to  United States jurisdiction under 46

            U.S.C. app.   1903(c)(1)(A).   See  32 F.3d at  647-48.   The
                                           ___

            government proved the jurisdictional element through  a State

            Department certification,  much like  the one at  issue here,

            explaining the events leading  up to Colombia's refutation of



                                         -20-
                                          20















            registry.   See id. at  648.  We reasoned  that the statutory
                        ___ ___

            scheme  of permitting proof  of certain  jurisdictional facts

            through  certification meant  that  "the government  need not

            prove  that the vessel is in fact without registry in another

            country, nor must  it prove that the  foreign nations' denial

            or refutation of registry  is valid, legitimate, or otherwise

            properly made."  Id. at 649.  We declined to decide whether a
                             ___

            defendant's endeavor to prove  actual registry facts would be

            irrelevant under the statutory scheme, and expressly reserved

            the questions whether and when a defendant may challenge "the

            actions of  foreign nations in situations  that might warrant

            determination, probably by the court,  as to whether a proper

            certification was being offered."  Id. at 649 n.3.
                                               ___

                      In this case, Pilco  seeks to question the validity

            of   the   Honduran   government's   consent   by   requiring

            clarification  of  the  source's  authority.   His  challenge

            touches upon the preserved issue in Romero, i.e., whether and
                                                ______

            to  what  extent  a  defendant  may  look  behind  the  State

            Department's certification to  challenge its  representations

            and factual underpinnings.   We have not yet had  occasion to

            resolve the issue,  and the "plain error"  standard of review

            does  not  call upon  us to  correct  unobvious errors.   See
                                                                      ___

            Johnson v. United States,  117 S. Ct. 1544, ___,  No. 96-203,
            _______    _____________

            1997 WL 235156, at  *6 (U.S. May 12, 1997)  (indicating that,

            to  be "plain," the error must be  clear at least at the time



                                         -21-
                                          21















            of  appellate review  ).   Moreover, Pilco  does not  raise a

            colorable  claim   that   the  certification   was   prepared

            fraudulently or  in bad faith.   See  Romero, 32 F.3d  at 649
                                             ___  ______

            n.3.   Thus,  we decline  to decide  whether a  defendant may

            contest the authority of the source of the consent or whether

            Congress  intended   to  leave  that  matter   to  the  State

            Department's expertise.

                      In the absence of error, plain or otherwise, in the

            district  court's  admission  of  the  Secretary  of  State's

            certification, we  find the evidence sufficient  to prove the

            first element of 18 U.S.C.   1903(a).

            C.  Knowing Participation
            _________________________

                      Rivas, Guerrero, Ospina,  and Hernandez claim  that

            the  government  failed  to  prove the  third  element  of  a

              1903(a) offense, their  knowing possession of a  controlled

            substance  with the intent to  distribute it.   While they do

            not dispute the fact that they were  hired as crew members to

            assist in the BLACK CAT's shipping of cargo, they assert that

            the evidence was insufficient to establish that they knew the

            bales  contained contraband.    Absent  that knowledge,  they

            argue, their "mere  presence" aboard the BLACK  CAT could not

            rise to the level of aiding and abetting the drug-trafficking

            offense.

                      To  prove aiding  and  abetting liability  under 18

            U.S.C.    2,  the government  needed  to  establish that  the



                                         -22-
                                          22















            defendants "'participated in the  venture and sought by their

            actions  to make it succeed.'"  United States v. Steuben, 850
                                            _____________    _______

            F.2d  859, 864  (1st  Cir. 1988)  (quoting  United States  v.
                                                        _____________

            Quejada-Zurique, 708 F.2d 857, 859 (1st Cir. 1983)).   "'Mere
            _______________

            presence at the  scene or  even knowledge that  the crime  is

            being committed is generally insufficient to establish aiding

            and  abetting.'"  Steuben, 850  F.2d at 864 (quoting Quejada-
                              _______                            ________

            Zurique, 708 F.2d at 859).
            _______

                      The  question  whether  the  evidence  sufficiently

            establishes  a defendants'  knowledge  of the  presence of  a

            controlled substance is  distinct from, although  related to,

            the  issue of a defendant's level of participation in a drug-

            trafficking  venture.    Thus,  for example,  even  when  the

            government proves  that a  defendant knew that  her residence

            was  used by a co-occupant to sell drugs, the government must

            additionally  prove that she  participated criminally  in the

            venture.  See United  States v. Ocampo, 964 F.2d 80,  82 (1st
                      ___ ______________    ______

            Cir.  1992) (involving  conspiracy charge); United  States v.
                                                        ______________

            Hyson, 721 F.2d 856,  862-63 (1st Cir. 1983) (same).  In such
            _____

            cases,  proof of  sufficient participation  in the  crime, as

            well  as  knowledge  of  it,  is  required  to  convict;  the

            defendant's "mere presence" at the scene of criminal activity

            is not  enough.  By  like token, where, as  here, a defendant

            actively participates in a  venture, but denies any knowledge





                                         -23-
                                          23















            of  the  venture's   illegal  nature,  the  government   must

            adequately prove knowledge, more so than participation.

                      With the  exception of its case  against Pilco, the

            government  largely  relied upon  circumstantial  evidence to

            prove   the   defendants'   knowing   participation   in  the

            transportation  a controlled  substance.   In  circumstantial

            cases such as this one, the evidence is sufficient to convict

            if   it   adequately   supports   "the   requisite  'two-step

            inference'":  (1) that  the vessel  was engaged  in obviously

            illegal activity and  (2) that  each defendant  was ready  to

            assist in the criminal enterprise.  United States v. Jimenez-
                                                _____________    ________

            Perez, 869 F.2d 9,  11 (1st Cir. 1989) (quoting  Steuben, 850
            _____                                            _______

            F.2d  at 867).   We refrain  from second-guessing  the jury's

            inferences and ensuing conclusions drawn  from circumstantial

            evidence  where  "the   inferences  derive  support  from   a

            plausible rendition of the record" and where "the conclusions

            flow  rationally from  those inferences."   United  States v.
                                                        ______________

            Spinney, 65 F.3d 231, 234 (1st Cir. 1995).
            _______

                      1.  Knowledge of Controlled Substance
                      _____________________________________

                      The defendants place great weight on the absence of

            evidence  that the bales emitted any odor of marijuana.  They

            reason  that   without  this  evidence,  a   jury  could  not

            rationally infer their knowledge of  the bales' contents.  We

            have eschewed,  however, a  myopic inquiry into  whether "one

            particular indication of  knowledge (such as a smell) did, or



                                         -24-
                                          24















            did not,  exist."  United  States v. Robinson, 843  F.2d 1, 8
                               ______________    ________

            (1st Cir. 1988).  Instead, we must "look[] at the evidence as

            a  whole in the light  most favorable to  the government, and

            leav[e] to  the jury the power to  make any reasonable set of

            common sense assumptions about  the working of human nature."

            Id. (internal  quotation marks  and citations omitted).   See
            ___                                                       ___

            United States v. Molinares-Charris,  822 F.2d 1213, 1220 (1st
            _____________    _________________

            Cir.  1987) (finding  circumstantial evidence  of defendant's

            active participation in illegal cargo transport sufficient to

            prove  knowing participation  even  assuming  marijuana  "was

            hidden in scent as well as in sight").

                      Thus, in the absence of evidence of marijuana odor,

            we  turn to  other factors  to determine  whether or  not the

            government  sufficiently established the  crew's knowledge of

            the  presence of a controlled substance.   We have previously

            looked  to  factors such  as  the  closeness  of  the  crew's

            relationship,  the  length  of   the  voyage,  the  size  and

            condition of the vessel,  the quantity of marijuana, and  the

            absence  of  a  legitimate  purpose  for  the  voyage.    See
                                                                      ___

            Robinson, 843 at 8-9; see also Molinares-Charris, 822 F.2d at
            ________              ___ ____ _________________

            1219-20;  United States v. Lopez, 709 F.2d 742, 747 (1st Cir.
                      _____________    _____

            1983).   These factors,  while not exhaustive,  indicate that

            where the circumstantial evidence  permits a jury to conclude

            that activities aboard a  vessel concern the obvious presence

            of  contraband,  the jury  reasonably  may  infer the  crew's



                                         -25-
                                          25















            knowing participation in the venture.  See Molinares-Charris,
                                                   ___ _________________

            822 F.2d at 1218; Quejada-Zurique, 708 F.2d at 859-860.
                              _______________

                      In this  case, although the bales  of marijuana had

            been packaged carefully and  emitted no odor, the surrounding

            facts  permit  a   jury  finding  that  the   BLACK  CAT  was

            conspicuously  involved   in  the  illegal  transport   of  a

            controlled substance.   According to the  trial evidence, the

            vessel's low-profile construction signalled its plain purpose

            to avoid detection.   See  United States v.  Romero, 32  F.3d
                                  ___  _____________     ______

            641,  644 (1st  Cir.  1994) (involving  similarly constructed

            vessel).   The vessel  had been equipped  with expensive  and

            sophisticated radio and navigational gear that, the testimony

            suggested, was generally intended  to assist in long-distance

            voyages and unusual for this  small recreational vessel.  See
                                                                      ___

            id.;   Passos-Paternina,   918    F.2d   at    985.       The
            ___    ________________

            disproportionately  large fuel tanks  awkwardly placed on the

            aft deck and the  plentiful, undepleted food supply indicated

            that the BLACK CAT had recently embarked on what was expected

            to  be a long journey.10  The  use of a recreational craft to


                                
            ____________________

            10.  The government  introduced evidence  that it  would have
            taken  only  twenty  hours  to   travel  from  the  point  of
            interception  to  Aruba,  the purported  destination.    This
            evidence suggested  that the  plentiful food and  fuel supply
            would have  been unnecessary  for the  claimed  voyage.   The
            evidence also  established that had the  vessel departed from
            Panama as originally claimed, the voyage would have taken two
            to three days  and at least  one-half of the fuel  would have
            been  used to reach the point of interception, some 400 miles
            away from the nearest Panamanian port.

                                         -26-
                                          26















            carry the large  shipment, without commercial  documentation,

            beyond the normal area of operation for such a vessel further

            evinced the voyage's illegitimate purpose.  Cf. Robinson, 843
                                                        ___ ________

            F.2d  at 9  (involving a "'mudboat,'  a vessel  that normally

            supplies  oil  rigs  in  the  Gulf  of  Mexico,"  found  near

            Bermuda).

                      Perhaps most telling for  the purposes of this case

            were  the  numerous unlabeled  bales,  wrapped  in a  fashion

            typical for controlled-substances likely to be  off-loaded at

            sea.  The bales were so ubiquitous that they left  no room to

            stand or  sit  in the  cramped  cabin.   Compare  Piedrahita-
                                                     _______  ___________

            Santiago,  931  F.2d at  131  ("[A]  relatively small  vessel
            ________

            carrying a large quantity of drugs is indicative of knowledge

            and involvement on the part of the crew."); with Steuben, 850
                                                        ____ _______

            F.2d at  868-69 (reversing conviction where,  inter alia, the
                                                          _____ ____

            government failed to produce evidence that defendant knew the

            illegal nature of cargo concealed in barge towed behind tug).

            The  rough  seas  and the  limited  space  to  stand on  deck

            permitted the inference that the crew spent its time together

            below, among the bales.11  Finally, the crew's emergence from

                                
            ____________________

            11.  The proximity of the crew on board the BLACK CAT is also
            indicative  of  the closeness  of  their  relationship.   See
                                                                      ___
            Robinson, 843 F.2d at 8 (noting evidence that crew member had
            ________
            spent  time   on  captain's   deck  as  probative   of  close
            relationship).  The evidence  further suggested that the crew
            may  have  been larger  than necessary  to operate  the small
            vessel during  its stated journey.   See Piedrahita-Santiago,
                                                 ___ ___________________
            931 F.2d at  130 (involving seven crew members  on forty-foot
            vessel that "would ordinarily require a crew of only three or

                                         -27-
                                          27















            the cabin area with  their belongings in hand upon  the Coast

            Guard's approach  permits the  inference that they  knew they

            had been caught  in an illegal venture,  and would eventually

            be arrested.

                      Although   these  facts,   in  isolation,   do  not

            necessarily lead to the conclusion that the crew members knew

            the bales  contained a controlled substance,  in combination,

            they  constitute  more  than  enough evidence  to  support  a

            finding  of  positive  knowledge,  or  at   least  deliberate

            ignorance,12  of that fact.  See Robinson, 843 F.2d at 9; see
                                         ___ ________                 ___

            also  United States  v. Ortiz,  966 F.2d  707, 711  (1st Cir.
            ____  _____________     _____

            1992) (explaining  that "juries  are not required  to examine

            the  evidence   in  isolation,  for  'individual   pieces  of

            evidence, insufficient in themselves to prove a point, may in

            cumulation prove it.  The sum of an  evidentiary presentation

            may well  be greater than its  constituent parts.'") (quoting

            Bourjaily  v. United  States, 483  U.S. 171,  179-80 (1987)).
            _________     ______________


                                
            ____________________

            four" and  explaining that  "[a] larger crew  than ordinarily
            needed  for navigation  purposes suggests  that the  crew was
            hired  for the purpose of loading  and unloading cargo rather
            than merely steering the vessel").

            12.  Where  "'the   facts  suggest  a   conscious  course  of
            deliberate ignorance,'"  a jury  is warranted in  finding the
            defendants' deliberate ignorance of criminal events, which is
            tantamount to knowledge.   United States v. Cassiere, 4  F.3d
                                       _____________    ________
            at 1006,  1023-24 (1st Cir.  1993) (quoting United  States v.
                                                        ______________
            Littlefield, 840 F.2d  143, 148  n.3 (1st Cir.  1988)).   The
            ___________
            district  court   instructed  the  jury  on   the  deliberate
            ignorance, or  willful blindness,  theory of knowledge.   See
                                                                      ___
            infra Part IV.
            _____

                                         -28-
                                          28















            The  government's  proof  need  not  have  "exclude[d]  every

            reasonable hypothesis of innocence," Robinson-Munoz, 961 F.2d
                                                 ______________

            at  305, and  the evidence  permitted a  reasonable inference

            that  unwitting  bystanders  would  not have  been  hired  to

            participate in  the BLACK CAT's obvious  illegal transport of

            millions of dollars' worth of contraband.  See  United States
                                                       ___  _____________

            v. Cuevas-Esquivel, 905 F.2d 510, 515 (1st Cir. 1990); United
               _______________                                     ______

            States  v. Luciano-Pacheco, 794  F.2d 7, 11  (1st Cir. 1986);
            ______     _______________

            United States v. Guerrero-Guerrero,  776 F.2d 1071, 1076 (1st
            _____________    _________________

            Cir.  1985).  While the  jury could have  found that the crew

            sincerely believed that the bales contained legitimate cargo,

            the evidence certainly did not compel that conclusion.

                      2.  Participation
                      _________________

                      We  now turn  to  the  defendants' contention  that

            their  "mere presence" aboard the  BLACK CAT did  not rise to

            the level  of aiding  and abetting.   For the most  part, the

            evidence establishing  their knowledge of  the illegal nature

            of  the cargo  disposes  of this  issue.   Additionally,  the

            evidence permitted the reasonable conclusion that the purpose

            of  each defendant's presence aboard the vessel was to assist

            in  the transport  and handling  of the  illegal cargo.   For

            example, the  large quantity of cargo made  travel aboard the

            vessel uncomfortable, thus belying any lawful purpose such as







                                         -29-
                                          29















            pleasure-cruising,  educational  experience, or  adventure.13

            Because  the crew's presence  on board the  BLACK CAT evinced

            more  than  a  coincidental  association  with  the  criminal

            venture, a jury could rationally infer that the circumstances

            "fairly imply participatory involvement."   United States  v.
                                                        _____________

            Echeverri, 982 F.2d 675, 678 (1st Cir. 1993) (also explaining
            _________

            that  the "mere presence" argument  holds no water "where the

            'mere' is lacking").

                      We find, therefore, that the evidence supported the

            requisite two-step  inference: (1) the BLACK  CAT was engaged

            in the  obvious transportation of a  controlled substance and

            (2) each defendant  was ready to participate  in the venture.

            See Jiminez-Perez, 869  F.2d at  11.  The  defendants do  not
            ___ _____________

            dispute that  the large  quantity of  marijuana on  board the

            vessel permitted the inference of an intent to distribute the

            controlled substance.  See Echeverri, 982 F.2d at 678.  Thus,
                                   ___ _________

            we  conclude that the  evidence was sufficient  to prove that

            the defendants,  aiding and  abetting  each other,  knowingly




                                
            ____________________

            13.  Cf. United States v.  Mehtala, 578 F.2d 6, 10  (1st Cir.
                 ___ _____________     _______
            1978)  (finding no  criminal  participation given  the  small
            packages of easily concealable  contraband and the absence of
            evidence  indicating that  defendant "embarked on  the voyage
            for any purpose other than a pleasure cruise"); United States
                                                            _____________
            v. Francomano, 554  F.2d 483, 486 (1st  Cir. 1977) (reversing
               __________
            convictions  of  crew  members  on same  voyage  involved  in
            Mehtala  and noting that crew consisted  of "young men, short
            _______
            of  funds,  seeking  travel  for  educational  experience and
            adventure").

                                         -30-
                                          30















            possessed a controlled substance, marijuana,  with the intent

            to distribute it.

                      In  light of  the above,  we find  no error  in the

            district court's denial of defendants' motions for acquittal.

                                         IV.
                                         IV.
                                         ___

                                  Jury Instructions
                                  Jury Instructions
                                  _________________

                      Ospina,  Hernandez,  and   Rivas  argue  that   the

            district court committed reversible error  in instructing the

            jury on  reasonable  doubt, deliberate  ignorance,  and  mere

            presence.  Although the defendants raised their concerns both

            during  a formal charge  conference and in  writing, they did

            not renew their  objection after the court  charged the jury.

            This procedural  default triggers only "plain  error" review.

            See United States v. Mendoza-Acevedo, 950 F.2d 1, 4 (1st Cir.
            ___ _____________    _______________

            1991).

                      Citing  United States  v. Andujar,  49 F.3d  16, 23
                              _____________     _______

            (1st Cir. 1995), the  defendants requested the district court

            to include  the following  jury  instruction when  discussing

            "reasonable doubt":  "If you jurors, view the evidence in the

            case as  reasonably permitting  either of two  conclusions --

            one  of innocence, the other  of guilt --  the jury should of

            course  adopt  the  conclusion  of  innocence."    The  court

            rejected the proposed instruction.

                      In Andujar,  we explained that  an appellate  court
                         _______

            must  reverse  a conviction  on  the  grounds of  evidentiary



                                         -31-
                                          31















            insufficiency  "where  an equal  or  nearly  equal theory  of

            guilty and a theory of innocence is supported by the evidence

            viewed in the light most favorable  to the verdict."  49 F.3d

            at 20  (internal quotation marks and citations  omitted).  In

            such cases,  "a reasonable jury must  necessarily entertain a

            reasonable  doubt."   Id.   Our explanation  of the  scope of
                                  ___

            appellate  review,  however, does  not  necessarily translate

            into  a proper  jury instruction.   The  defendants' proposed

            instruction comes close to making a comparison between "guilt

            or  innocence," which,  if  suggested as  equal alternatives,

            "'risks  undercutting the  government's burden  by suggesting

            that they should find  the defendant guilty if they  think he

            is  not   innocent  --  regardless  of   how  convincing  the

            government's proof has  been.'"  Id. at  24 (quoting Mendoza-
                                             ___                 ________

            Acevedo,  950 F.2d  at  4).   Given  our repeated  admonition
            _______

            against  overdefining  "reasonable  doubt,"  see  id.  at  23
                                                         ___  ___

            (noting  that attempts to  clarify the  concept may  serve to

            obfuscate  it), we find no plain error in the court's refusal

            to adopt the proposed instruction.14

                                
            ____________________

            14.  At oral argument before  us, Hernandez suggested for the
            first time that the court erred in using the phrase "hesitate
            to act" when  discussing reasonable doubt.   Despite the fact
            that new issues raised at  oral argument are normally  deemed
            waived, see United States v.  De Leon Ruiz, 47 F.3d  452, 455
                    ___ _____________     ____________
            n.1  (1st Cir. 1995), out of an  abundance of caution we have
            carefully  reviewed  the  court's   charge.    Although   the
            "hesitate to act" language is "arguably unhelpful," Gilday v.
                                                                ______
            Callahan, 59 F.3d 257, 264 (1st Cir. 1995), cert. denied, 116
            ________                                    _____ ______
            S. Ct. 1269 (1996), under our reasoning set forth in Andujar,
                                                                 _______
            49 F.3d at 23-24, we find no error.  

                                         -32-
                                          32















                      Hernandez  further  complains  that   the  district

            court's  instruction  on  "deliberate   ignorance,"  followed

            immediately  by   its  charge  concerning   "mere  presence,"

            confused the  jury regarding  the requirements of  aiding and

            abetting liability.   We disagree.  The  court instructed the

            jury that a defendant's knowledge of a particular fact may be

            inferred  from proof that he  deliberately closed his eyes to

            the  obvious.  The court  then stated, "[y]ou  have heard the

            word[s]  'mere presence'  in this  case," and  explained that

            mere  presence at the scene  of a crime,  or mere association

            between  the  principal  and  those  accused  of  aiding  and

            abetting, is insufficient  to establish guilt.   In our view,

            the court's instructions adequately distinguished between the

            deliberate-ignorance theory, which relates to the defendants'

            knowledge  of a  fact,  and the  mere-presence theory,  which

            concerns the level of defendants' participation in the crime.

            See United States v. Cassiere, 4 F.3d at 1006, 1023 (1st Cir.
            ___ _____________    ________

            1993).  Under plain  error review, we  find no clear risk  of

            confusion.

                                          V.
                                          V.
                                          __

                                Destruction of Vessel
                                Destruction of Vessel
                                _____________________

                      The  Coast Guard's  act  of sinking  the vessel  by

            machine  gun fire  because  of its  concern for  navigational

            safety is  not unprecedented.   See, e.g.,  United States  v.
                                            ___  ____   _____________

            Doe, 860  F.2d  488,  490 (1st  Cir.  1988).    Nevertheless,
            ___



                                         -33-
                                          33















            Hernandez asserts that  the destruction  was unnecessary  and

            suggests that  this  act amounted  to  a deprivation  of  due

            process  under Brady v. Maryland, 373 U.S. 83, 87 (1963), and
                           _____    ________

            Arizona v. Youngblood,  488 U.S. 51,  57 (1988).   Hernandez'
            _______    __________

            failure to explain the potential materiality or usefulness of

            the  vessel  to  his  defense,  and  his  concession that  no

            evidence  demonstrates  bad  faith  in  connection  with  the

            vessel's  destruction,  render his  argument  specious.   See
                                                                      ___

            Youngblood, 488 U.S. at 58; United States v. Gallant, 25 F.3d
            __________                  _____________    _______

            36,  39 (1st Cir. 1994); cf. United States v. Alston, No. 96-
                                     ___ _____________    ______

            1779, slip op. at 8-10 (1st Cir. May 5, 1997) (finding no due

            process  violation  where government  "deliberately alter[ed]

            evidence  that, in  its original form,  might have  helped to

            exculpate  [defendant],"   but   where  defendant   did   not

            demonstrate  that  such  action  significantly  impaired  his

            defense).





















                                         -34-
                                          34















                                         VI.
                                         VI.
                                         ___

                                  Sentencing Issues
                                  Sentencing Issues
                                  _________________

                      Rivas and  Ospina contend that  the district  court

            erred in calculating their sentences.  Because they failed to

            raise  their arguments  below, we  review for  "plain error."

            See United States v.  Peppe, 80 F.3d 19, 22 (1st  Cir. 1996).
            ___ _____________     _____

            We discuss each defendant in turn.

            A.  Rivas
            _________

                      At sentencing, the  district court increased Rivas'

            base  offense  level upon  finding that  he acted  as "pilot"

            aboard  the BLACK CAT.  See U.S. Sentencing Guidelines Manual
                                    ___

              2D1.1(b)(2)(B)  (requiring  a  two-level increase  if  "the

            defendant  acted as  a  pilot,  copilot, captain,  navigator,

            flight  officer, or  any other  operation officer  aboard any

            craft  or vessel  carrying a  controlled substance").   Rivas

            asserts  that   the   guideline  only   applies  to   offense

            participants in  a  position of  authority  or command.    He

            reasons that the guideline should not apply to him because he

            did  not  possess special  navigational  rank  or skills  and

            merely steered the vessel upon the master's instruction.15

                                
            ____________________

            15.  The  district court  adopted  the factual  findings  set
            forth  in  Rivas'  Presentence  Investigation  Report, which,
            though not made  a part of  the appellate record,  presumably
            sets forth the facts  leading to the "pilot" finding.   Rivas
            did  not object  to  any portion  of  the report  during  his
            sentencing hearing and does  not dispute that he  steered the
            vessel.
                      We  further  note that  at  trial,  over which  the
            sentencing judge  presided, Rivas testified that  he had been

                                         -35-
                                          35















                      The sentencing guideline  does not define the  word

            "pilot," and  our research  has not revealed  any caselaw  to

            inform  our inquiry.    Nevertheless, the  common  dictionary

            definition of  "pilot" includes  a  person hired  to steer  a

            vessel.     See,  e.g.,  Webster's  Third  New  International
                        ___   ____

            Dictionary  of the  English  Language  1716 (1986)  (defining

            "pilot," inter  alia,  as  "one employed  to  steer  a  ship:
                     _____  ____

            helmsman").  While the act of steering a forty-foot vessel on

            the high seas may or may not involve a skill obtained through

            extensive maritime training, we  cannot say that the district

            court committed plain error in finding that Rivas "acted as a

            pilot"  aboard  the  boat  within  the  meaning  of  U.S.S.G.

              2D1.1(b)(2)(B).    Furthermore,  we  disagree  with  Rivas'

            contention  that the  guideline  applies only  to those  with

            special  command  in  a   criminal  enterprise.    While  the

            guideline  may  speak  to  a defendant's  control  over  some

            mechanical  aspect  of  a  vessel's operation,  it  does  not

            address  the  defendant's  authority over  other  individuals

            involved  in  a  criminal  venture.    Cf.  U.S.S.G.    3B1.1
                                                   ___




                                
            ____________________

            hired by a  man looking for "any seaman  who was available to
            navigate."   When the ship set sail, he complied with Pilco's
            instruction to  "take care of  the helm," which  Rivas manned
            for  a four  hour  shift.   Furthermore,  when asked  whether
            commercial cargo  is usually  labeled so that  those handling
            the  cargo are  aware  if its  contents, Rivas  replied, "No,
            because that was not my job. . . . I was told I was in charge
                                               __________________________
            of the helm, which was my profession." (emphasis added).
            ____________________________________

                                         -36-
                                          36















            (providing enhancements for a defendant's role as "organizer,

            manager, or supervisor").16

            B.  Ospina
            __________

                      Ospina  belatedly  argues that  the  district court

            incorrectly calculated his incarcerative sentence based on an

            enhanced  statutory  maximum  of thirty  years,  rather  than

            twenty  years,  under the  Career  Offender  Guideline.   See
                                                                      ___

            U.S.S.G.   4B1.1.  Ospina's  argument fails both because  the

            statutory maximum term for his offense remained fixed at life

            imprisonment  without  any  enhancement,  see  21  U.S.C.    
                                                      ___

            960(b)(1)(G), and  because, in  any event, the  Supreme Court

            has  reversed  his  cited  authority, see  United  States  v.
                                                  ___  ______________

            LaBonte, No. 95-1726,  1997 WL  273644, at *3  (U.S. May  27,
            _______

            1997) (reversing United States v.  LaBonte, 70 F.3d 1396 (1st
                             _____________     _______

            Cir. 1995)).

                                         VII.
                                         VII.
                                         ____

                                      Conclusion
                                      Conclusion
                                      __________

                      For  the  foregoing reasons,  the  judgment of  the

            district court is affirmed.
                              affirmed
                              ________






                                
            ____________________

            16.  We  note that  the  government  chose  not  to  seek  an
            offense-level increase  on the  alternative basis of  "use of
            special skill."  U.S.S.G.   3B1.3.  The commentary to   2D1.1
            specifies  that   3B1.3  is  inapplicable  if the  sentencing
            court,   as    here,    assesses   an    enhancement    under
              2D1.1(b)(2)(B).

                                         -37-
                                          37









